     Case 3:13-cv-01140-WWE Document 83 Filed 07/30/15 Page 1 of 23




                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT



CURTIS REDDICK                                              CIVIL ACTION
                                                            NO. 3:13-CV-01140 WWE
                     PLAINTIFF

v.

YALE UNIVERSITY, ET AL

                     DEFENDANTS
                                                            JULY 30, 2015


                          AFFIDAVIT OF BROCK T. DUBIN

       I, Brock T. Dubin, upon my oath, depose and state as follows:

       1.     I am over the age of eighteen years and believe in the obligation of an oath.

       2.     I am a member of the Bar of this COUli and a partner with the law firm of

Donahue, Durham & Noonan, P.C., attorneys for the defendant, Yale University.

       3.     Annexed hereto as Exhibit 1 are true and accurate copies of relevant pOliions

of the August 20, 2014 deposition of Charles Nixon.

       4.     Annexed hereto as Exhibit 2 are true and accurate copies ofrelevant portions

of the June 13,2014 deposition ofCUliis Reddick.

       5.     Annexed hereto as Exhibit 3 are true and accurate copies of relevant portions

of the September 30, 2014 deposition ofCUliis Reddick.
   Case 3:13-cv-01140-WWE Document 83 Filed 07/30/15 Page 2 of 23




Dated: Guilford, Connecticut
       July 30, 2015




STATE OF CONNECTICUT

COUNTY OF NEW HAYEN



Subscribed and sworn to before me this 30th day of July, 2015

                                                        f,
                                                  ,! \ i\.   /,,\ ,.~

                                                 Notmy Public

                                                                        {vIAUfU\ G.   [)l.l"C~<.
                                                                          NOT/my PUW Ie            ,
                                                             MY COMMISSION EXPWlS / 2 / 3              Ii;   :>




                                             2
Case 3:13-cv-01140-WWE Document 83 Filed 07/30/15 Page 3 of 23




                                  DEFENDANT
                                  YALE UNIVERSITY




                            By:                 lsi
                                  BROCK T. OUBIN - CT1877
                                  DONAHUE, OURHAM & NOONAN, P.C.
                                  Concept Park, Suite 306
                                  741 Boston Post Road
                                  Guilford, CT 06437
                                  Telephone: (203) 458-9168
                                  Fax: (203) 458-4424
                                  Email: bdubin@ddnctlaw.com




                                  3
    Case 3:13-cv-01140-WWE Document 83 Filed 07/30/15 Page 4 of 23




                                     CERTIFICATION

        I hereby certify that on July 30, 2015 a copy of the foregoing Affidavit of Brock T.
Dubin was filed electronically and served by mail on anyone unable to accept electronic mail.
Notice of this filing was sent by email to all parties by operation of the COUl1's electronic
filing system or by mail to anyone unable to accept electronic filing as indicated in the Notice
of Electronic Filing. Pm1ies may access this filing thrOlJgh the Court's CMIECF System.


                                                                /s/
                                                     BROCK T. DUBIN




                                               4
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                      EXHIBIT 1
        Case 3:13-cv-01140-WWE Document 83 Filed 07/30/15 Page 6 of 23



                                                                         1


 1                 UNITED STATES DISTRICT COURT

 2                      DISTRICT OF CONNECTICUT

 3   * * * * * * * * * * * * * * * * * *
 4   CURTIS REDDICK,                        *
 5                     Plaintiff            *
 6           vs                             *
 7   YALE UNIVERSITY, THE FEDERATION        * Civil Action No.:
 8 OF UNIVERSITY EMPLOYEES,                 * 3:13-CV-0114(RNC)
 9 LOCAL 35, UNITE HERE, AFL-CIO,           *
10 AND MEG RICCIO,                          *
11                     Defendants           *
12   * * * * * * * * * * * * * * * * * *
13

14                DEPOSITION OF CHARLES NIXON

15

16 Taken pursuant to the Federal Rules of Civil Procedure,

17   held at the LAW OFFICES OF DONAHUE, DURHAM & NOONAN,

18   741 Boston Post Road,    Guilford, Connecticut, before

19 Cynthia Trotta, License #SHR.0050, a Registered

20   Professional Reporter and a Notary Public in and for the

21   State of Connecticut, on WEDNESDAY, AUGUST 20, 2014,

22   commencing at 10: 11 a.m.

23

24

25




                                 BEECHER & HORVATH
Case 3:13-cv-01140-WWE Document 83 Filed 07/30/15 Page 7 of 23



             nixon charles    08-20-2014              Page 87 of 173
                                                                          87
 1   for work, and I had to instruct him not to report for

 2 Hork due -- from Joe Realejo, by my manager, my

 3   immediate manager.

 4           Q     Do you know hOI" long he Has suspended for?

 5           A     I believe it might have been for the rest of

 6 the month or -- either the rest of the month or the

 7   rest -- the rest of the Heek or the rest of the month.

 8   It was a period of time.        I don't recall exactly how

 9   long.

10           Q     And you don't recall any other time while

11   you were employed at Yale that you Here asked to

12   suspend Mr. Reddick?

13           A     It may have been.        I don't recall I"hich

14   time, but it may have been.

15           Q     And why is it you       ~Iere   asked to suspend Mr.

16   Reddick on or about September 19th?

17           A     "Continued disregard of the department's

18   policy of not allowing persons Hith restrictions to

19   return to    ~lOrk   cannot continue."        So--

20           Q     Were you ever aHare that there Has a policy

21   in place at Yale prohibiting people with restrictions

22   from Horking?

23           A     I've never seen one, actually, policy.

24           Q     Has that -- was that ever discussed Hith you

25   as pertained to employees other than Mr. Reddick?

                              BEECHER & HORVATH
Case 3:13-cv-01140-WWE Document 83 Filed 07/30/15 Page 8 of 23



          nixon charles     08-20-2014           Page 89 of 173

                                                                    89
 1   regarding their restriction.

 2        Q      Did you participate in a discussion

 3   regarding reasonable accommodations for employees \-Iho

 4   presented to work I·,i th restrictions?

 5        A      E-mails, phone conversations,      that's what

 6   I can't     that's what I -- I'm not sure what you're

 7   referring to with "discussions."       Were they formal

 8   meeting discussions,    or did I have a conversation vii th

 9   somebody on the phone?      Yes.    I spoke to Ruth DeAngelo

10   or Valerie Stanley, yes.

11        Q      Okay.    And that pertained to other

12   employees, not just Mr. Reddick?

13        A      Not just Mr. Reddick,      that's right.

14        Q      So,   if I understand correctly, an employee

15   comes to work wi th some type of imposed restriction by

16   a medical provider, yes?

17        A      Right,   yes.

18        Q      At that point a discussion ensues within

19   Yale as to whether that employee can be reasonably

20   accommodated, correct?

21        A     That's correct.

22        Q      And is it -- is it correct that if they

23   could not be reasonably accommodated,       they would be

24   told not to l;ork?

25        A     That's correct.


                            BEECHER & HORVATH
Case 3:13-cv-01140-WWE Document 83 Filed 07/30/15 Page 9 of 23


          nixon charles      08-20-2014           Page 90 of 173

                                                                      90
 1        Q      And if they could be reasonably

 2   accommodated,    they would be allo\"ed to vlOrk?

 3        A      That's correct.

 4        Q      And if they were told they could not work,

 5   they were sent home, correct?

 6        A      Yes.

 7        Q      But that would not be counted as some type

 8   of absenteeism from work, correct?

 9        A      Yes/   i t is.     If you're not at \-lork, you're

10   absent, and that goes against you.

11        Q      I see.     And do you believe that Mr.

12   Reddick's       VlithdraVin.

13               Do you know how many times Mr. Reddick was

14   absent from work while you were employed by Yale?

15        A      Not exactly, no.

16        Q      Was i t more than one day?

17        A      Yes.

18        Q      Was i t more than ten days?

19        A      There may have been times,        yeah, Vlith his,

20   you knoVi -- with his episodes.

21        Q      You were his supervisor,       correct?

22        A      Yes.

23        Q      And it's fair to say Mr. Reddick was absent

24   from vlOrk quite a bit?

25        A      Yeah -- yes.


                             BEECHER & HORVATH
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                      EXHIBIT 2
   Case 3:13-cv-01140-WWE Document 83 Filed 07/30/15 Page 11 of 23


                                                                     1
               UNITED STATES DISTRICT COURT

                  DISTRICT OF CONNECTICUT



- - - - - - - - - - - - - - - - - - - X

CURTIS REDDICK,

                    PLAINTIFF,
              VS.                          :CIVIL ACTION NO.:
YALE UNIVERSITY, ET AL,                     3:13 CV 01140 RNC

                       DEFENDANTS.

- - - - - - - - - - - - - - - - -         X




      DEPOSITION OF CURTIS REDDICK, taken at the law

offices of Williams, Walsh & O'Connor, 37 Broadway,

North Haven, Connecticut, before Jennifer Tramontano, a

Licensed Shorthand Reporter and Notary Public, in and

for the State of Connecticut, on Friday, June 13, 2014,

at 9:09 a.m.



         DEL VECCHIO REPORTING SERVICES, L.L.C.
           PROFESSIONAL SHORTHAND REPORTERS
                    117 RANDI DRIVE
               MADISON, CONNECTICUT 06443
            (203) 245-9583     (800) 839-6867
                  FAX (203) 245-2760


         HARTFORD            NEW HAVEN            STAMFORD
        Case 3:13-cv-01140-WWE Document 83 Filed 07/30/15 Page 12 of 23


                                                                          111
 1   restrictions were lifted?

 2        A     Immediately, yes.

 3        Q     Okay.   Until the restrictions were lifted;

 4   correct?

 5        A     Yes.

 6        Q     Okay, and you went to your doctor?

 7        A     I went to my doctor.

 8        Q     Okay, and the restrictions were lifted?

 9        A     The restrictions were lifted, yes.

10        Q     And then you went back to work?

11        A     Yeah.   I went back to work after that, yes.

12        Q     Okay.   Now, you said that that constitutes

13   discrimination?

14        A     Yes, because I had a medical condition.       That

15   wouldn't happen, and I feel that it was -- that I lost

16   wages because of that very reason, and I also -- I also

17   felt that when I had restrictions before, I was

18   accommodated, and I never was -- it wasn't a problem

19   then, and I'lhy is it a problem now?

20        Q     Let me ask you this:     Did you, during this

21   April 7, 2011 meeting I'lith Gray Mitchell, say "I need an

22   accommodation"?

23        A     Yes, I asked for accommodation.

24        Q     What accommodation did you ask for?

25        A     I asked for accommodation for me doing the job
        Case 3:13-cv-01140-WWE Document 83 Filed 07/30/15 Page 13 of 23


                                                                          112
 1   because of me not being able to use my arm, because it

 2   was in my arm that I had fluid in my arm.

 3            Q   So, this is the fluid in the arm episode

 4   you're claiming that occurred on April 11 -- in April of

 5   2011 ?

 6            A   Yeah, yes.

 7            Q   Was the fluid in your arm, does that in any

 8   way relate to the spasms that you have, or is that a

 9   different medical condition?

10            A   No, it's to the same thing that I have, the

11   spasms.      I get   like I said, it affects my system.

12            Q   What is the accommodation that you asked for?

13   I didn't understand the accommodation that you asked

14   for.

15            A   Well, the accommodation I asked for was to be

16   able to do things that -- which I had in the past, like

17   light stuff, like, you know, doing, like I said, setting

18   up different functions.     Those are light things I could

19   do, also assist       getting the assistance which I asked,

20   which Lavene is on the job and stuff, so I asked for a

21   helper, a buddy, which is a buddy system where you can

22   get assistance for if you have any type of problem,

23   medical problem or something, or if you need some

24   assistance and helping, helping in the area.

25                So, it's not that I couldn't do the essential
        Case 3:13-cv-01140-WWE Document 83 Filed 07/30/15 Page 14 of 23


                                                                          113
 1   part of my job.     It's just that I needed some help

 2   because I can only use that arm, the one arm.          The other

 3   arm had fluid in it, so I asked for accommodation.

 4        Q     So, you could not use the arm with fluid in

 5   it; is that correct?

 6        A     The arm that I had with fluid in it, I

 7   couldn't lift more than ten pounds in that arm, but as

 8   far as using it,    I could use it, but as far as using it

 9   to the fullest, no.

10        Q     When did this fluid develop?

11        A     When I had the -- I'Ihen I had the episode.

12        Q     When l'Ias that?

13        A    That was    -- let's see --

14        Q     The Complaint shol'ls the third \'leek of

15   February 2011; is that about right?       I'm looking at

16   Paragraph 44.

17        A     Yeah, February 11, yeah, okay.

18        Q     It doesn't say February 11.       It says the third

19   week of February 2011; is that correct?

20        A     The third l'Ieek of February you said?

21                     MS. GRAMLICH:    That's I'Ihat it says here.

22             This is I'Ihat he's reading.

23                     THE WITNESS:    Let me see this.     Okay,

24              around the third l'Ieek of February '11, yes.

25   BY MR. DUBIN
        Case 3:13-cv-01140-WWE Document 83 Filed 07/30/15 Page 15 of 23


                                                                          114
 1        Q     Okay.   So, it was around the third week of

 2   February 2011?

 3        A     Yes.

 4        Q     And you had an episode; correct?

 5        A     Yes.

 6        Q     And you used your intermittent FMLA; correct?

 7        A     Yes.

 8        Q     And then you returned to work on March 2;

 9   correct?

10        A     Yes.

11        Q     And you had fluid in your arm; is that

12   correct?

13        A     That's true.

14        Q     And you were -- and you then had a minor

15   lifting restriction documented by your treating

16   physician; correct?

17        A     Yes.

18        Q     And you believe that lifting restriction to

19   have been ten pounds; correct?

20        A     Yes.

21        Q     Okay.   The accommodation that you Hanted and

22   asked for Has to use the buddy system?

23        A     Yes.

24        Q     Okay, and I think Hhat you told me Hhat you

25   loJanted to do was, you Hanted to do setup; is that what
        Case 3:13-cv-01140-WWE Document 83 Filed 07/30/15 Page 16 of 23


                                                                          115
 1   you wanted to do, light duty and setting up functions?

 2           A   Yeah.   Those setups basically were light where

 3   I can, you know, be able to do those things, but also,

 4   there are other tasks, too, that they want you to do all

 5   combined together.

 6               So, if you were -- if you were to have a

 7   buddy, or if you had to do it, you can either -- they

 8   can either assign you to do that or not assign you to do

 9   that, or they can assign you to a buddy that can help

10   and assist you to take -- to take care of the tasks,

11   and, also, with the buddy system, also, there is also to

12   do things such as wash windows and stuff.

13           Q   What do the setups entail, Mr. Reddick?

14           A   The setups entail setting up the classrooms,

15   like rearranging them.     Like if you ever go to court,

16   you know, you have the different types of setups.        They

17   may want you to set up, set the chairs a certain way

18   diagonal corners and stuff like that.

19               There are other things you got to bring in the

20   room to set up, like some podiums and stuff, things like

21   that.

22           Q   So, did the setups involve moving chairs?

23           A   Yeah, light stuff, like chairs.

24           Q   How about tables?

25           A   Tables, yes, some tables, but you also have
            Case 3:13-cv-01140-WWE Document 83 Filed 07/30/15 Page 17 of 23

                                                                              116
 1   someone to assist you.

 2           Q      And who did you have to assist you?

 3           A      Lavene, Lavene Walker.

 4           Q       Is that a male or female?

 5           A       Female.

 6           Q      And hOI'; old is Lavene Walker?

 7           A       I don't know hOI'; old she is.    I don't know how

 8   old she is.

 9           Q      Okay.      How tall is she?

10           A      She's about 5'6".

11           Q      Okay.      How much does she loJeigh, approximately,

12   do you know?

13           A       I don't knOl" her weight.     I don't know, but

14   she been doing that for -- we've been doing that for

15   years, so she's familiar.           She can do the job.

16           Q      The accommodation that you had requested is

17   that Lavene and you, with your one arm, move the tables

18   and chairs?

19           A      Yes.

20           Q      And that accommodation was --

21           A      Yes, but also, washing windows and things like

22   that was also in the buddy system, too.

23           Q      Okay.      You returned to work after that period

24   of time, l'ihen?       I'm looking at your Complaint, again,

25   sir.        The Complaint says that it looks like it was a
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                      EXHIBIT 3
Case 3:13-cv-01140-WWE Document 83 Filed 07/30/15 Page 19 of 23
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  1                         UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT
  2

  3   CURTIS REDDICK,

  4         PLAINTIFF,

  5   VS.                                  CIVIL ACTION NO:
                                           3:13-CV-01140 RNC
  6   YALE UNIVERSITY,      ET AL.,

  7          DEFENDANTS.

  8

  9             Deposition of CURTIS REDDICK, VOLUME III, taken

 10         pursuant to Section 13-26 of the Practice Book, at

 11         Donahue,   Durham & Noonan,   P.C., 741 Boston Post Road,

 12         Guilford, Connecticut, by Sabina Lohr, Licensed
                                                                                        I!
 13         Shorthand Reporter and Notary Public in and for the

 14         State of Connecticut, on September 30, 2014,

 15         at 10:08 a.m.

 16

 17

 18

 19                              SABINA LOHR
                                 LSR #0000131                                           V
                                                                                        f
 20
                                                                                        L·
                                                                                        ,:-
 21             DEL VECCHIO REPORTING SERVICES, L.L.C.
                   PROFESSIONAL SHORTHAND REPORTERS
 22                         117 RANDI DRIVE
                          MADISON, CT 06443
 23             (203) 245-9583          (800) 839-6867
                          FAX (203) 245-2760
 24
      HARTFORD                        NEW HAVEN                   STAMFORD
 25

                         Del Vecchio Reporting    Services----------------~
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                  - -.;                   , ,



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  1      A.       Yes.       This one was when I came back and I

  2   was -- we had a meeting, Gray had a meeting with the                        I

  3   whole staff.          And he said that he was relieving me from

  4   my duties and that he was giving my job to someone else.

  5   And I asked him, Why, why, why are you doing that?

  6                       And he said that he can do that because his

  7   boss, Bob Young, said that Roger Goode -- I mean, Bob

  8   Young boss,         Roger Goode, said that he could do that.          He

  9   can take my job and give it to someone else.                And so

 10   that's ''iha t      happened.

 11                       And then that's when I said, I think it's

 12   unfair for you to do that and I feel that I was being

 13   retaliated against because I filed a charge, a charge of

 14   discrimination.          And I felt that that was the reason.

 15      Q.      And when you say taking away your duties and

 16   giving them to someone else, you still had duties within

 17   the custodial job description; correct?
                                                                                      ,,,
                                                                                      ,
                                                                                              .
 18      A.       Yes, but my job was taken away when I
                                                                                      !
                                                                                      I
 19   specifically did --                                                             i
                                                                                      f·
 20      Q.       You      said --                                                    !
 21      A.       I'm sorry.          Go ahead.                                       I
 22      Q.       When you said your job, you mean your                               I
                                                                                      r
                                                                                      I
 23   particular assignment was given to somebody else?
                                                                                      I
 24      A.       My job -- my job duties were specifically given                     I1-;;
                                                                                      i
 25   to different -- two individuals,            yes.


                            Del Vecchio Reporting Services - - - - - - - - - - '
     Case 3:13-cv-01140-WWE Document 83 Filed 07/30/15 Page 21 of 23
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                                                                                359


           1   that were filed.       So you ultimately filed a procedural

           2   complaint in this action in August 2011; is that

           3   correct?

           4        A.      Yes.

           5        Q.      And the fact the grievance that you filed we --

           6   that were submitted earlier, Exhibit 24 and 25,         24 was

           7   filed on 9/11/2011?                                                    i.
                                                                                      :

           8        A.      Yes.

           9        Q.      Do you recall testifying earlier that you

               believed        I'm sorry.     Strike that.

                               What was the conduct on this September 1st,

          12   2011 grievance?       That was against Gray Mitchell; is that

          13   correct?

          14        A.      Yes.

          15        Q.      And what was the conduct being complained of?

          16        A.      It was -- the -- the complaint was that he --

          17   he        he had gave my job -- he assigned me -- he took my

          18   job away from me and gave it to two other -- two other

          19   individuals, and he said that -- and I        asked him why,

          20   and he said that he can do that, and that Bob Young, his

          21   boss, and Roger Goode said that they can do that.

          22        Q.      And it's your belief that he removed you from

          23   your job duties because you had made your formal filing

          24   with the Commission of Human Rights?

          25        A.      Yes.   And I   felt that that was a retaliation

                                   Del Vecchio Reporting Services ________--1
Case 3:13-cv-01140-WWE Document 83 Filed 07/30/15 Page 22 of 23
· - -------1
                             I    '




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      1        due to that being filed in that complaint.

      2           Q.       Those grievances that we discussed earlier

      3        today,   have any of them been resolved?

      4           A.       Actually with Gray's, no.               Because he no longer
      5        works for the university at all.                 30 none of these were

      6        resolved.

      7           Q.       Okay.         Do you know whether or not any of them

      8        have gone to arbitration?

      9           A.       None.

   10             Q.       Do you know whether or not the union took any

   11          action to address these complaints that were raised in

   12          the grievances?

   13             A.       Well, we talked about it, but it was never

   14          resolved.         And so what it was is with these -- with

   15          Gray, because Gray wasn't there,                he no longer worked at

   16          the university, then there was no -- there was no need

   17          for any -- anything because he wasn't working there

   18          anymore.

   19                             MR. ADLER:       Could you be more specific about

   20          which grievances?            Because he's pointing to these two

   21          grievances.            So what are the exhibit numbers?                            ,I
   22             A.       Yeah, the --

   23                             MS. GRAMLICH:        25 and 24.

   24                             MR. ADLER:       Okay.

   25             Q.       So from September 2011, when both of these

                                       Del Vecchio Reporting Services - - - - - - - - - - - - 1
Case 3:13-cv-01140-WWE
       ...... _, '
                       Document 83 Filed'- 07/30/15
                                           .. ...
                                           ,--
                                                    Page 23 of 23



                                                                         377


  1                       C E R T I F I CAT E

  2             I hereby certify that I am a Notary Public in,

  3   and for the State of Connecticut, duly commissioned and

  4   qualified to administer oaths.

  5              I   further certify that the deponent named in

  6   the foregoing deposition was by me duly sworn and

  7   thereupon testified as appears in the foregoing

  8   deposition; that said deposition was taken by me

  9   stenographically in the presence of counsel and reduced

 10   to typewriting under my direction, and the foregoing is

 11   a true and accurate transcript of the testimony.

 12              I   further certify that I        am neither of counsel

 13   nor attorney to eithei of the parties to said suit,nor

 14   am I an employee of either party to said suit, nor of

 15   either counsel in said suit, nor am             I   interested in the

 16   outcome of said cause.

 17              Witness my hand as Notary Public this 14th day

 18   of October, 2014.

 19

 20

 21

 22                                               Sabina Lohr
                                                 Notary Public
                                                                               I
 23   License #0000131                                                         ;:
      My License Expires December 31, 2016                                     I
 24   My Notary certification Expires July 31, 2017                            f:·
 25


                        Del Vecchio Reporting Services - - - - - - - - - - '
                                                                               ,
                                                                               r··
